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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION

UNITED STATES OF AMERICA,                       )
                                                )
         Plaintiff,                             )
                                                )
vs.                                             ) No. 4:22 CR 532 SEP
                                                )
DEMETRIUS JOHNSON                               )
                                                )
         Defendant.                             )
                                                )

                      NOTICE OF JOINT SENTENCING RECOMMENDATION


         Come now the parties, Defendant Demetrius Johnson, by and through counsel,

Eric Selig, Assistant Federal Public Defender, and the United States of America,

represented by Assistant United States Attorney Ashley Walker on behalf of the Office

of the United States Attorney for the Eastern District of Missouri do hereby inform the

Court that the parties have agreed to make a joint sentencing recommendation to the

Court.

         The parties have agreed to jointly recommend a sentence of fifty-seven (57)

months of imprisonment in the Bureau of Prisons. This is an amended Joint

Recommendation from the recommendation in the Plea Agreement.

         In Support of this recommendation the Defendant refers to paragraph 83 which

provides the court with Demetrius’ Guideline Provisions. That guideline imprisonment

range is 46 to 57 months. The Parties agree that Demetrius should not receive a

sentence higher than his guideline sentence and have agreed to amend the Joint

Recommendation to reflect this.
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      Additionally, in Support of this recommendation the Defendant refers to

paragraph 102 of the Pre-Sentence Report which describes the 18 U.S.C. Sec. 3553(a)

factors to be considered which include: “Specifically, Johnson reportedly had a

challenging childhood as he was physically abused by his father, witnessed domestic

violence by his father against his mother and stepmother, locked in his home by his

father as a child with bars on his front door, sexually molested by a cousin, and

witnessed neighborhood gun and gang violence. Additionally, Demetrius has substantial

history of Opiates and Marijuana use. He would benefit from the RDAP program while in

the Federal Bureau of Corrections. Demitrius also requests mental health counselling to

help him with the undiagnosed Post Traumatic Stress Disorder symptoms he

experiences.

                                          Respectfully submitted,

                                          /s/ Eric Selig
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                                          ATTORNEY FOR DEFENDANT

                              CERTIFICATE OF SERVICE

I hereby certify that on February 23, 2024, the foregoing was filed electronically with the
Clerk of the Court to be served by operation of the Courts electronic filing system upon
Ashley Walker, Assistant United States Attorney.

                                          /s/ Eric Selig
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